Case 4:22-cv-00310-ALM-KPJ Document 18 Filed 02/28/23 Page 1 of 2 PageID #: 267




                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

 RUSSEL A. COX,                                                       )
                                                                      )
 Plaintiff,                                                           )
                                                                      )
 v.                                                                   ) CASE NO. 4:22cv310
                                                                      )
 FIRST UNITED BANK & TRUST                                            )
                                                                      )
                      Defendant.                                      )

                       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

           Russel A. Cox and First United Bank & Trust stipulate to Russel A. Cox voluntarily

 dismissing with prejudice the lawsuit pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).




 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                               Page 1 of 2
 Civil Action No. 4:22-cv-00310; Cox c. First United Bank and Trust
Case 4:22-cv-00310-ALM-KPJ Document 18 Filed 02/28/23 Page 2 of 2 PageID #: 268




 Dated: February 28, 2023                                        Respectfully submitted,


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 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                                                              Page 2 of 2
 Civil Action No. 4:22-cv-00310; Cox c. First United Bank and Trust
